    Case: 4:20-cv-00348-JAR Doc. #: 18 Filed: 11/02/20 Page: 1 of 2 PageID #: 1284




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


MARLAYNA GONZAGOWSKI,                                )
                                                     )
                  Plaintiff,                         )
                                                     )
v.                                                   )   Case No. 4:20CV00348 JAR
                                                     )
                                                     )
ANDREW SAUL,                                         )
Commissioner of Social Security,                     )
                                                     )
                  Defendant.                         )

                                  MEMORANDUM AND ORDER

          This case is before the Court on Commissioner Andrew Saul’s (“the Commissioner’s”)

Motion to Reverse and Remand the case to the Commissioner for further administrative action

pursuant to sentence four of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g). (Doc.

No. 17). Plaintiff has not responded to the motion.

          On March 4, 2020, Plaintiff filed a Complaint seeking review of the Commissioner’s

decision that she was not under a disability within the meaning of the Social Security Act. (Doc.

No. 1). The Commissioner filed his answer and the transcript of the administrative proceedings on

August 28, 2020. (Doc. Nos. 13, 14). 1 Plaintiff filed a brief in support of the complaint on

September 28, 2020. (Doc. No. 16).

          On October 22, 2020, the Commissioner filed the instant motion to reverse and remand the

case to the Commissioner for further action under sentence four of section 205(g) of the Social

Security Act, which permits the Court “to enter, upon the pleadings and transcript of the record, a


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    The case was stayed from May 6, 2020 to August 28, 2020. (Doc. Nos. 9, 11, 15).
 Case: 4:20-cv-00348-JAR Doc. #: 18 Filed: 11/02/20 Page: 2 of 2 PageID #: 1285




judgment affirming, modifying, or reversing the decision of the Commissioner, with or without

remanding the cause for a rehearing.” 42 U.S.C. § 405(g). The Commissioner represents in his

motion that upon review of the record, agency counsel determined that remand was necessary for

further evaluation of Plaintiff’s claim. The Commissioner states that “[o]n remand, the ALJ will be

instructed to give further consideration to Plaintiff’s residual functional capacity and provide rationale

with specific references to the evidence of record in support of assessed limitations (Social Security

Ruling 96-8p).” (Doc. No. 17 at 2).

        Upon review of Plaintiff’s brief in support of the complaint, the ALJ’s decision, and the

Commissioner’s motion, the Court agrees with the parties that this case should be reversed and

remanded pursuant to sentence four of 42 U.S.C. § 405(g).

        Accordingly,

        IT IS HEREBY ORDERED that the Commissioner’s Motion to Reverse and Remand

[17] is GRANTED.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that decision of the

Commissioner of Social Security is REVERSED and that this case is REMANDED under

Sentence Four of 42 U.S.C. § 405(g) for reconsideration and further proceedings consistent with

this opinion.



        Dated this 2nd day of November, 2020.



                                                    ________________________________
                                                    JOHN A. ROSS
                                                    UNITED STATES DISTRICT JUDGE
